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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                             MONROE DIVISION



  ROBERT F. KENNEDY, JR. ET AL.             CIVIL ACTION NO. 3:23-cv-00381


  VERSUS                                    JUDGE: TERRY A. DOUGHTY


  JOSEPH R. BIDEN ET AL.                    MAG. JUDGE: KAYLA D. MCCLUSKY


  ******************************************************************************
                    MEMORANDUM IN SUPPORT OF MOTION
                      FOR PRELIMINARY INJUNCTION

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                        MEMORANDUM IN SUPPORT OF MOTION
                          FOR PRELIMINARY INJUNCTION

                                          INTRODUCTION

          This lawsuit challenges the Federal Government’s massive, multi-agency, ongoing

  campaign to induce social-media companies to censor protected speech. The Court is well aware

  of the background facts and law, having recently issued a lengthy, detailed, closely-reasoned

  opinion rejecting almost entirely the Government’s attempt to dismiss a related case. See

  Missouri v. Biden, No. 3:22-cv-01213, 2023 U.S. Dist. LEXIS 46918 (W.D. La. Mar. 20, 2023).

  Indeed, it is only because this Court permitted limited discovery in Missouri that the astonishing

  magnitude of the Government’s censorship campaign has now been revealed.

          Plaintiffs are mindful that the Court has deferred their consolidation motion, that a

  parallel preliminary injunction motion is pending in Missouri, and that judicial resources are

  limited. Accordingly, in this motion, Plaintiffs seek no new discovery and submit no new

  evidence, but only: (1) propose a narrower injunction than that asked for by the Missouri

  plaintiffs; and (2) seek to clarify the applicable legal tests.

          Narrower injunction. The Missouri plaintiffs have asked the Court to enjoin Defendants

  from taking “any steps” to urge or otherwise induce social-media companies to censor any

  “content.” (See Point I(B) infra.) Defendants will undoubtedly object that such an order would

  (a) violate their own First Amendment rights to express their views; and (b) prevent them from

  taking action against genuinely criminal online content. To avoid these defense arguments,

  Plaintiffs here offer the Court an alternative: enjoining Defendants from engaging, pursuant to

  their official duties, in private communications with social media companies with the purpose

  of inducing those companies censor constitutionally protected speech. This narrower injunction

  will completely answer both objections, insulating the Court’s order from challenge. (See id.)


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         Applicable Legal Tests. Although evidence already before the Court in Missouri proves

  otherwise, Defendants are certain to argue that they never engaged in coercion of, or joint action

  with, social media companies sufficient to turn those companies into state actors.         But as

  Plaintiffs will show below, state action doctrine does not govern this case. On the contrary,

  under clear and controlling Supreme Court authority, Defendants act unconstitutionally every

  time they privately communicate with social-media companies with the purpose of inducing,

  encouraging, or promoting censorship of protected speech, even when those communications do

  not coerce or collude or satisfy any other state action test. (See Point I(D)(1) infra.)

         Plaintiffs hope that these small but critical additional points will assist the Court in its

  deliberations while imposing virtually no new burdens on any party.

          I. THE COURT SHOULD ISSUE A PRELIMINARY INJUNCTION
         A.      Factual Statement

         In the interest of judicial economy and of avoiding any delay, Plaintiffs here neither seek

  new discovery nor submit new evidence of the Government’s censorship campaign. Instead, this

  Motion is based on facts already before the Court in Missouri v. Biden, and those facts will not

  be repeated here. They are powerfully summarized and evidenced in the Missouri plaintiffs’

  preliminary injunction briefs and proposed findings of fact, together with the copious exhibits

  thereto, all of which are incorporated herein by reference.

         B.      Injunctive Relief Requested

         Critically, however, Plaintiffs here propose a different, more narrowly-framed

  preliminary injunction than the one sought by the Missouri plaintiffs. The Fifth Circuit is well-

  known to put a premium on the specificity of proposed injunctive relief in cases like this. Cf.,

  e.g., Prantil v. Arkema, Inc., 986 F.3d 570, 580-81 (5th Cir. 2021) (reversing class certification




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  where proposed injunction insufficiently “specific”).      The narrower injunction proposed by

  Plaintiffs will strengthen the authority and legality of any preliminary relief the Court may order,

  both: (1) by satisfying the Fifth Circuit’s specificity requirement and, equally important, (2) by

  obviating certain important arguments Defendants are virtually certain to make.

         The Missouri Plaintiffs have asked this Court to preliminarily enjoin Defendants from

  “taking any steps to demand, urge, pressure, or otherwise induce any social-media company . . .

  to censor . . . content.” Pls. Mot. Prelim. Inj., Missouri v. Biden, No. 3:22-cv-01213 (W.D. La.),

  ECF No. 10, at 2. That request is logical, but Defendants will without doubt argue that such an

  order would: (a) violate their own First Amendment rights to express their views and opinions;

  and (b) prevent the Government from alerting social media companies to the existence of

  genuinely criminal online content and asking those companies to remove such content.

         Whatever the ultimate merits of such defense arguments, the Court can at this stage of the

  proceedings issue a narrower injunction avoiding them entirely. Specifically, Plaintiffs ask the

  Court to preliminarily enjoin Defendants from engaging, pursuant to their official duties, in

  private communications with any social media company with the purpose of inducing,

  encouraging, or promoting the censorship of constitutionally protected speech.

         This narrower preliminary injunction will, first of all, obviate any claim that the Court is

  entrenching on Defendants’ free speech rights. When governmental agents, pursuant to their

  official duties, in private communications with social media companies, they are not engaging in

  protected First Amendment speech. “[W]hen public employees make statements pursuant to

  their official duties, the employees are not speaking as citizens for First Amendment

  purposes.” Garcetti v. Ceballos, 547 U.S. 410, 421 (2006) (emphasis added). Rather, they are

  engaging in government speech, and although government actors and their counsel often forget




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  this fact, it is well established that “government speech itself is not protected” by the First

  Amendment. NAACP v. Hunt, 891 F.2d 1555, 1565 (11th Cir. 1990) (emphasis added) (citation

  omitted) (“The First Amendment protects citizens’ speech only from government regulation;

  government speech itself is not protected by the First Amendment.”). As the Supreme Court has

  stated, there is a “crucial difference between government speech” and “private speech . . .,

  which the Free Speech and Free Exercise Clauses protect.” Santa Fe Indep. Sch. Dist. v. Doe,

  530 U.S. 290, 302 (2000) (emphasis added); see also, e.g., Pleasant Grove City, Utah v.

  Summum, 555 U.S. 460, 467 (2009) (“[T]he Free Speech Clause restricts government regulation

  of private speech; it does not regulate government speech.”); Columbia Broad. Sys., Inc. v.

  Democratic Nat. Comm., 412 U.S. 94, 139 & n.7 (1973) (Stewart, J., concurring) (“The First

  Amendment protects the press from governmental interference; it confers no analogous

  protection on the Government.”) (emphasis added).

         So long as this Court’s preliminary injunction is limited to government speech, there can

  be no claim that it violates Defendants’ First Amendment rights. “[I]f we conclude that the

  speech in this case is government speech, the analysis ends because there has been no First

  Amendment violation—in fact, the First Amendment would not even apply.” Texas Div., Sons

  of Confederate Veterans, Inc. v. Vandergriff, 759 F.3d 388, 393 (5th Cir. 2014) (emphasis added)

  (citation omitted), rev’d on other grounds, 576 U.S. 200 (2015). See also, e.g., Am. C.L. Union of

  Ohio Found., Inc. v. Ashbrook, 375 F.3d 484, 490 n.4 (6th Cir. 2004) (rejecting judge’s First

  Amendment claims because posters placed by judge on courtroom wall were not “private

  religious expression protected by the Free Speech Clause,” but rather unprotected “government

  speech”) (emphasis added); Vista-Graphics, Inc. v. Virginia Dep’t of Transportation, 682 F.




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   App’x 231, 237 (4th Cir. 2017) (“[G]overnment speech [is] not subject to protection under the

   Free Speech Clause”).

          Accordingly,     an    injunction    limited      to   non-public,   pursuant-to-official-duty

   communications between government agents and social media companies will not impinge in

   any way on Defendants’ free speech rights. It will not, for example, restrict the ability of the

   President to publicly state his opinion that the American people should not be permitted to say or

   see certain information or viewpoints online. Instead, such an injunction will apply only to

   government speech, which is unprotected by the First Amendment.

          Moreover, an injunction directed solely at censorship of constitutionally protected

   speech will defang any claim Defendants may make that the government has a right and duty to

   ask social media companies to remove genuinely criminal (or otherwise illegal) content. The

   Court can avoid that argument completely by limiting its preliminary injunction solely to

   government efforts to censor constitutionally protected speech.

          Finally, an injunction directed solely at private communications with social media

   companies undertaken with the purpose of inducing censorship is more specific than enjoining

   Defendants from “taking any steps” to induce social media companies to block content.

   Defendants might well contend, for example, that the Missouri-proposed injunction would

   interfere with their ability to seek or enact new regulations, or to work with Congress to enact

   new statutes, restricting illegal online content. The narrower injunction proposed here would

   have no such effect and will, if accepted, insulate the Court’s order from challenge under the

   Fifth Circuit’s requirement of injunctive specificity.

          C.      Legal Standard for Grant of Preliminary Injunction

          “For a preliminary injunction to issue, a plaintiff must show: (1) a substantial likelihood

   of success on the merits, (2) a substantial threat of irreparable harm absent the injunction, (3) that


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   the harm [plaintiff] will suffer without the injunction outweighs the cost to comply with the

   injunction, and (4) that the injunction is in the public interest.” Harrison v. Young, 48 F.4th 331,

   339 (5th Cir. 2022). Provided that the injunction is narrowed in the ways proposed above, all

   four of these criteria are easily satisfied.

           D.      Plaintiffs’ Free Speech Claim is Extremely Likely to Succeed on the Merits
                   Regardless of Whether Defendants Coerced or Colluded with Social-Media
                   Companies

           The facts before the Court in Missouri v. Biden prove in copious detail that Defendants

   have repeatedly applied coercive pressure on, and colluded with, social media companies so as to

   turn those companies’ censorship decisions into unconstitutional state action. 1 Because the

   Missouri plaintiffs have convincingly made these arguments already, Plaintiffs here will not

   repeat them.

           Against these arguments, however, Defendants are certain to contend that their

   communications with social media companies have not crossed any state action lines—i.e., that

   many (or perhaps most, or perhaps even all) of their communications with social media

   companies were mere “requests,” which did not amount to coercion or joint action or meet the

   criteria of any other state action test. Indeed, Defendants are likely to attempt to make that

   argument the central issue in this matter.




   1
     As this Court is well aware, private party conduct can become state action when (among other
   tests) it is “coerced” by the government or the product of collusive “joint activity” with the
   government. Brentwood Acad. v. Tennessee Secondary Sch. Athletic Ass’n, 531 U.S. 288, 297
   (2001); Missouri v. Biden, 2023 U.S. Dist. LEXIS 46918, at *80-81. And as the evidence before
   the Court in Missouri proves, Defendants have repeatedly crossed these lines. See, e.g., Pls.
   Proposed Findings of Fact, Missouri v. Biden, ECF No. 214-1, at ¶¶ 1-30 (coercive threats), ¶¶
   34-122 (close joint censorship activity between White House and social-media companies). On
   this ground alone, there is a substantial likelihood that that Plaintiffs will succeed on their claim
   that Defendants’ censorship campaign has been unconstitutional.


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          Therefore, to assist the Court in its deliberations, Plaintiffs here clarify the applicable law

   and show that under controlling Supreme Court authority, the Government’s censorship

   campaign is unconstitutional regardless of whether the Government’s communications to social

   media companies amount to coercion or joint action or meet any other state action test.

                  1. Under controlling Supreme Court authority, the government’s censorship
                  campaign is unconstitutional in its entirety, including communications that do
                  not coerce or meet any other state action test.

          A half century ago, in Norwood v. Harrison, 413 U.S. 455, 465 (1973), the Supreme

   Court reaffirmed what the Justices called an “axiomatic” principle of constitutional law. The

   Court set forth this principle categorically, without qualification or dissent. The “axiomatic”

   principle was this: government “may not induce, encourage or promote private persons to

   accomplish what it is constitutionally forbidden to accomplish.” Norwood, 413 U.S. at 465

   (emphasis added) (citation omitted); see Watts v. Northside Indep. Sch. Dist., 37 F.4th 1094,

   1097 (5th Cir. 2022) (“[I]t is also axiomatic that a state may not induce, encourage or promote

   private persons to accomplish what it is constitutionally forbidden to accomplish.”) (quoting

   Norwood).

          The Norwood principle is axiomatic because, without it, government actors could evade

   nearly every prohibition in the Bill of Rights through the simple expedient of asking and

   encouraging private parties to do what the Constitution bars the government from doing directly.

   Police could ask a bystander to search the trunk of a car they cannot constitutionally search

   themselves. The FBI could offer rewards to private hackers who break into a suspect’s computer

   and send the government all the suspect’s emails. “Constitutional limitations on governmental

   action would be severely undercut if the government were allowed to actively encourage conduct

   by ‘private’ persons or entities that is prohibited to the government itself.” United States v.




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   Davis, 482 F.2d 893, 904 (9th Cir. 1973). The Norwood principle fully applies to the First

   Amendment. As Justice Thomas recently put it, the government acts unconstitutionally when it

   “induces [a private entity] to take action the government itself would not be permitted to do, such

   as censor expression of a lawful viewpoint.” Biden v. Knight First Amend. Inst. at Columbia

   Univ., 141 S. Ct. 1220, 1226 (2021) (Thomas, J., concurring).

          Critically, the Norwood principle is not tethered to state action doctrine; it can be

   violated by government conduct that would not turn a private party’s conduct into state action.

   In Norwood itself, for example, the Court enjoined Mississippi’s policy of providing free

   textbooks to whites-only private schools. See Norwood, 413 U.S. at 466. No claim was made

   or could have been made that by providing such textbooks, Mississippi turned the private

   schools into state actors. No claim was made or could have been made that Mississippi was

   coercing private schools to discriminate or that, under state action doctrine, its textbook-

   provision program turned the private schools into “joint actors” with the government.

   Nevertheless, the Court ruled Mississippi’s policy unconstitutional—and did so without any

   reference to state action doctrine—because it is “axiomatic that a state may not induce,

   encourage or promote private persons to accomplish what it is constitutionally forbidden to

   accomplish.” Id. at 465.

          Thus the Norwood test is not limited by the well-known state action tests. Norwood uses

   language markedly different from the language of state action doctrine (“induce, encourage, or

   promote” as opposed to “coerce,” “conspire,” “nexus,” and so on), because Norwood is

   addressed to different circumstances and to a different category of cases.

          Where plaintiffs allege that a private party’s conduct amounted to state action, a court

   must decide if it is dealing with “one of the exceptional cases” in which the state action doctrine




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   is satisfied—i.e., in which the government involved itself so closely in private conduct that the

   latter can be attributed to the government. See, e.g., O’Handley v. Weber, __ F.4th ___, No. 22-

   15071, 2023 U.S. App. LEXIS 57291145, at *12 (9th. Cir. Mar. 10, 2023) (“Determining

   whether this is one of the exceptional cases in which a private entity will be treated as a state

   actor for constitutional purposes requires us to grapple with the state action doctrine.”). Such a

   determination typically turns on whether the government’s conduct crossed the line into

   coercion, conspiracy, or one of the other state action categories. See id.

          By contrast, Norwood addresses cases where, as here, suit is brought against

   governmental actors to enjoin those actors from attempting to assist or facilitate private parties

   to accomplish something the Constitution forbids. Norwood is especially applicable to cases

   where, again as here, government agents are deliberately evading constitutional rights by asking

   private parties to do a job that the Constitution prohibits the government from doing directly. In

   such cases, the state action tests like coercion and conspiracy do not set the limits of what the

   government is barred from doing or of what the Court may enjoin. Rather, under the express

   language of Norwood, plaintiffs need only show that the government is engaging in a deliberate

   effort to “encourage” private parties “to accomplish what it is constitutionally forbidden to

   accomplish.”

          This rule is well established and routinely applied in cases—for example, search and

   seizure cases—of deliberate government efforts to circumvent constitutional rights by having

   private parties do the job. “‘When a government official affirmatively facilitates or encourages

   an unreasonable search performed by a private person, a constitutional violation occurs.’”

   Richard v. City of Harahan, 6 F. Supp. 2d 565, 573 (E.D. La. 1998) (emphasis added) (quoting

   Specht v. Jensen, 832 F.2d 1516, 1523 (10th Cir. 1987), judgment but not opinion vacated on




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   other grounds, 853 F.2d 805 (10th Cir. 1988)); Pruitt v. Pernell, 360 F. Supp. 2d 738, 746

   (E.D.N.C. 2005) (“[I]t is also well settled that state actors must not affirmatively facilitate or

   encourage an unreasonable search by a private person.”) (emphasis added) (citations omitted).

          Under Norwood, the entirety of the Federal Government’s censorship campaign is

   unconstitutional, because that campaign was and is one gigantic effort to “induce, encourage, and

   promote” social media companies to do what the government itself cannot constitutionally do—

   censor protected speech. Norwood makes irrelevant any argument that some (or many, or even

   all) of Defendants’ censorship-requesting communications were not coercive and/or do not prove

   joint action. Every such communication nonetheless “encourage[d],” “promote[d],” and sought

   to “induce” social media censorship and was thus unconstitutional.

          Thus even when merely “requesting” social media companies to block protected speech,

   the Federal Government’s censorship campaign violates the Norwood test. It was and is a

   systematic, deliberate effort to “induce, encourage, and promote” censorship of protected speech

   by private parties. Accordingly, the Court can and should enjoin that censorship campaign,

   regardless of whether Defendants are coercing, colluding, or satisfying any other state action test.

                  2. The state action tests such as coercion and joint action are also inapplicable
                  here because the government’s censorship campaign is overtly viewpoint-
                  discriminatory.

          There is another reason why the existence of coercion, joint activity, or any other state-

   action trigger is irrelevant here: because the government’s censorship campaign is overtly

   viewpoint-discriminatory. Clearly the White House could not launch a government-wide, multi-

   agency campaign asking—simply asking, not coercing or colluding with—social media

   companies to censor all speech supporting Republican political candidates. Such a blatantly

   viewpoint-discriminatory campaign would be per se unconstitutional, regardless of its non-




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   coerciveness and indeed regardless of whether it succeeded or failed.            But the current

   Administration is doing just that: conducting a government-wide, multi-agency campaign that

   asks social media companies to suppress speech based on its viewpoint.

           As the Supreme Court has held, it is:

           a core postulate of free speech law [that] government may not discriminate against
           speech based on the ideas or opinions it conveys. See Rosenberger v. Rector and Visitors
           of Univ. of Va., 515 U.S. 819, 829–830 (1995) (explaining that viewpoint discrimination
           is an “egregious form of content discrimination” and is “presumptively
           unconstitutional”).

   Iancu v. Brunetti, 139 S. Ct. 2294, 2299 (2019). Because viewpoint discrimination is the most

   egregious violation of the First Amendment, it is barred not only when government coerces or

   conspires with private actors, but also when government merely offers benefits to them. See,

   e.g., Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 549 (2001) (striking down denial of benefits

   to private parties where such denial was “aimed at the suppression of ideas”).

           Here, the Government’s massive, multi-agency censorship campaign plainly offers

   significant benefits to social-media companies—for example, avoiding adverse regulatory action,

   remaining in the Administration’s good graces, and receiving millions of dollars in payments in

   connection with reporting certain users and certain content to the FBI. 2 Accordingly, because

   the Government’s censorship campaign is blatantly viewpoint-discriminatory, and offers benefits

   to social-media companies that comply, it is unconstitutional and enjoinable in its entirety,

   regardless of whether it amounted to coercion or otherwise meets the criteria of the traditional

   state action tests.




   2
    See, e.g., https://twitter.com/ShellenbergerMD/status/1604908670063906817 (internal Twitter
   email admitting that Twitter received $3,415,323 from the FBI from October 2019 through
   February 2021 for handling FBI disclosure requests).


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                  3. To the extent that state action tests are relevant here, Supreme Court
                  authority dictates that the statutory immunity granted by Section 230 weighs
                  heavily in favor of a finding that the state action line has been crossed.

          To the extent state action tests are deemed relevant in this case, the famous Section 230,

   which immunizes social-media companies from liability if they censor “objectionable” speech

   even if that speech is “constitutionally protected,”47 U.S.C. § 230(c)(2)(A), weighs heavily in

   favor of a finding of state action here.

          In Skinner v. Ry. Lab. Executives’ Ass’n, 489 U.S. 602 (1989), the Supreme Court held

   that a federal regulation granting immunity to railroads if they performed specified employee

   drug and alcohol tests, turned those tests into state action where that immunity was coupled with

   other indicia of government “encouragement,” including the government’s communicating its

   “strong preference” for the tests to be performed and its interest in “shar[ing] the fruits” of those

   tests. Id. at 615-16. Even though the tests were “permissive,” not mandatory, and hence

   remained a voluntary choice by the railroad companies, the combination of immunity plus

   encouragement turned those tests into state action. Id.

          The instant case is analogous to Skinner but presents an even stronger case. Here too, but

   much more so than in Skinner, the Government has communicated to social media companies the

   government’s “strong preference” for those companies to censor speech disfavored by the

   government. 3 Indeed, the Government has excoriated social-media companies that do not censor

   more aggressively and has repeatedly threatened to hold them and their chief executive officers




   3
    To take just one of countless examples, on July 16, 2021, President Biden accused social-media
   companies of “killing people” by failing to censor certain COVID-related speech. Pls. Proposed
   Findings of Fact, supra, ¶ 27; Zolan Kanno-Youngs & Cecilia Kang, They’re Killing People:
   Biden Denounces Social Media for Virus Disinformation, N.Y. Times (July 16, 2021),
   https://www.nytimes.com/2021/07/16/us/politics/biden-facebook-social-media-covid.html.


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   “accountable” if they do not. 4 And just as the Federal Government in Skinner told the railroads

   exactly what tests it wanted them to perform, so here the Federal Government tells social-media

   companies exactly what speech, viewpoints and speakers it wants them to censor. 5 Moreover, as

   in Skinner, the Government seeks to “share[s] the fruits” of social media content-moderation

   operations by asking (and paying for) social-media companies to report to the FBI information

   gathered about users who post disfavored content. 6 Finally, like the immunizing regulation in

   Skinner, Section 230 protects social-media companies from state law liability if they comply

   with the government’s requests. 47 U.S.C. § 230(c)(2)(A).

            Thus under Skinner, the combination of these factors militates decisively in favor of a

   finding that the Government’s censorship campaign has crossed the state action line.

            E.      The Other, Equitable Criteria are Established as a Matter of Law

            Once this Court finds, as it should, a substantial likelihood of success on Plaintiffs’ First

   Amendment claim, the three other, equitable preliminary injunction criteria—irreparable harm,

   balance of hardships, and public interest—are established as a matter of law. “Loss of First

   Amendment freedoms, even for minimal periods of time, constitutes irreparable injury.”

   Ingebretsen ex rel. Ingebretsen v. Jackson Pub. Sch. Dist., 88 F.3d 274, 280 (5th Cir. 1996).

   Moreover, as shown above, if the Court issues the narrowly framed injunction proposed here, it

   will not impinge on Defendants’ First Amendment rights, and it will not prevent the government

   4
     See, e.g., The White House, Press Briefing by Press Secretary Jen Psaki, April 25, 2022,
   https://www.whitehouse.gov/briefing-room/press-briefings/2022/04/25/press-briefing-by-press-
   secretary-jen-psaki-april-25-2022/; Proposed Findings of Fact, supra, ¶¶ 6, 8, 9, 14, 16, 18
   (threatening to hold “accountable”).
   5
     See, e.g., Proposed Findings of Fact, supra, ¶¶ 94 (White House demanding censorship of
   Tucker Carlson), 119 (White House commanding Facebook: “Do not distribute or amplify
   vaccine hesitancy, and Facebook should end group recommendations for groups with a history of
   COVID-19 or vaccine misinformation.”).
   6
       See supra note 2.


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   from taking action against genuinely criminal (or otherwise illegal) content, thus impinging on

   legitimate governmental interests. Cf. BST Holdings, L.L.C. v. Occupational Safety & Health

   Admin., United States Dep’t of Lab., 17 F.4th 604, 618 (5th Cir. 2021) (“[a]ny interest” the

   government may “claim in enforcing an unlawful (and likely unconstitutional)” policy “is

   illegitimate”). Finally, “[i]njunctions protecting First Amendment freedoms are always in the

   public interest.” Opulent Life Church v. City of Holly Springs, Miss., 697 F.3d 279, 298 (5th Cir.

   2012) (quotation marks and citation omitted).

          F.      Necessity of Preliminary Injunctive Relief

          Defendants have not acknowledged any fault or wrongdoing concerning their efforts to

   induce social-media censorship of constitutionally protected speech.           On the contrary,

   Defendants have repeatedly defended that campaign and denied that it implicates any First

   Amendment concerns.

          For example, in a public statement provided to Fox News in December 2022, the FBI

   defended its actions in communicating with social-media companies, saying, “The

   correspondence between the FBI and Twitter show nothing more than examples of our

   traditional, longstanding and ongoing federal government and private sector engagements, which

   involve numerous companies over multiple sectors and industries.           As evidenced in the

   correspondence, the FBI provides critical information to the private sector in an effort to allow

   them to protect themselves and their customers.” Jake Gibson & Adam Sabes, FBI responds to

   Twitter Files disclosures, says it didn’t request ‘any action’ on specific tweets, FOX News (Dec.

   21, 2022), https://www.foxnews.com/politics/fbi-responds-twitter-files-disclosures-says-didnt-

   request-any-action-specific-tweets.




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            Similarly, Defendant Mayorkas has expressly defended the DHS’s censorship efforts,

   including an endorsement of the Department’s plan to institute a Disinformation Governance

   Board.     See Kelly Hooper, Mayorkas cites misinformation about Homeland Security’s

   disinformation board, Politico (Aug. 5, 2022), https://www.politico.com/news/2022/05/01/

   mayorkas-defends-dhs-disinformation-board-00029182. He said, “The fact is that disinformation

   that creates a threat to the security of the homeland is our responsibility to address. And this

   department has been addressing it for years.” Id.

            Moreover, after publication began of the so-called “Twitter Files” (which reported about

   emails between Twitter and government agents concerning censorship of protected speech),

   instead of investigating possible violations of the First Amendment, the Administration

   apparently commenced an investigation of Twitter and the Twitter Files journalists. According

   to the House Judiciary Committee, on December 13, 2022, the Federal Trade Commission sent

   Twitter a demand that Twitter disclose its interactions with Twitter Files journalists “Bari Weiss,

   Matt Taibbi, [and] Michael Shellenberger” and “[i]dentify all journalists and other members of

   the media” with whom Twitter had shared internal documents. U.S. House of Representatives,

   Committee on the Judiciary, The Weaponization of the Federal Trade Commission: An Agency’s

   Overreach      To   Harass    Elon    Musk’s    Twitter,   at   pp.   5,   7,   Mar.    7,   2023,

   https://judiciary.house.gov/sites/evo-subsites/republicans-judiciary.house.gov/files/evo-media-

   document/Weaponization_Select_Subcommittee_Report_on_FTC_Harrassment_of_Twitter_3.

   7.2023.pdf.

            Because the government has not only refused to acknowledge any wrongdoing in its

   social media censorship efforts, but has defended those efforts, painted them as mere

   continuations of longstanding policies, and even taken action to investigate journalists who have




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   exposed those efforts, it is virtually certain that the government’s censorship campaign will

   continue unless and until enjoined by this Court.

            G.      Plaintiff CHD Has Rock-Solid Standing To Assert the First Amendment
                    Right of Social Media Users To Receive Information and Ideas

            Should Defendants contest standing and therefore this Court’s jurisdiction, Plaintiffs

   respectfully emphasize that the instant case differs from Missouri in that it includes among its

   named Plaintiffs a nonprofit organization—Children’s Health Defense (“CHD”)—representing

   over 70,000 members across the country, all (or virtually all) of whom are avid consumers of

   online health news and in particular avid consumers of COVID-related information (one of the

   main targets of governmental censorship). 7 CHD is the ideal plaintiff, with rock-solid standing,

   to seek a nationwide injunction against the Government’s nationwide censorship campaign.

            The case for such a nationwide injunction turns ultimately on the fact that the First

   Amendment protects not only the right to speak, but also the “right to receive information and

   ideas.” Virginia State Bd. of Pharmacy v. Virginia Citizens Consumer Council, Inc., 425 U.S.

   748, 757 (1976) (emphasis added) (citation omitted); Davis v. East Baton Rouge Parish School

   Bd., 78 F.3d 920, 926 (5th Cir. 1996) (“[T]he First Amendment protects the . . . right to receive

   protected speech.”); Kass v. City of New York, 864 F.3d 200, 207 (2d Cir. 2017) (citations

   omitted) (First Amendment “extends not only to the right to speak, but also to the right to listen

   and receive information”). The true victims of the Government’s censorship campaign are the

   American people, whose “right to receive information and ideas” the Government is flagrantly

   violating.

            And the one kind of plaintiff that has the most rock-solid standing to assert the “right to

   receive information and ideas” on behalf of social-media consumers nationwide is an association

   7
       See ECF No. 1, at 13.


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   representing such consumers—because that is exactly the kind of plaintiff whose standing the

   Court upheld in the seminal case of Virginia State Bd. itself. See 425 U.S. at 757 (upholding

   standing of Virginia Citizens Consumer Council to assert public’s First Amendment right to

   “receive information and ideas” against a Virginia restriction on drug price advertising). CHD is

   therefore the ideal plaintiff, with rock-solid standing, to seek a nationwide injunction here.

          This case involves more than the rights of individuals whose speech has been blocked

   online. Indeed, in a case like this one, “it is the right of the viewers and listeners . . . which is

   paramount,” since it “is the purpose of the First Amendment to preserve an uninhibited

   marketplace of ideas in which truth will ultimately prevail.” CBS, Inc. v. FCC, 453 U.S. 367,

   395 (1981) (emphasis added) (citation omitted). As the Supreme Court said eighty years ago,

   “the widest possible dissemination of information from diverse and antagonistic sources is

   essential to the welfare of the public.” Associated Press v. United States, 326 U.S. 1, 20 (1945).

   CHD is the ideal plaintiff to represent and vindicate this vital public interest, and Plaintiffs

   therefore respectfully request that this Motion for Preliminary Injunction be set for the same

   date, May 26, currently scheduled as the hearing date for the parallel motion in Missouri.

                                            CONCLUSION
          For the reasons stated above, Plaintiffs respectfully ask the Court to hear this motion on

   May 26 and to issue a preliminary injunction barring Defendants (and anyone acting in concert

   with them) from engaging, in their official capacities, in any private communications with social-

   media companies with the purpose of inducing, encouraging, or promoting the censorship of

   constitutionally protected speech.




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        Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

          This is to certify that a copy of the above and foregoing has been served on all known

   counsel of record via electronic transmission, facsimile, e-mail and/or by U.S. mail on this 12th

   day of April, 2023.




                                                      /s/ G. Shelly Maturin, II
                                                ______________________________________
                                                G. SHELLY MATURIN, II




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